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                                        ORDERED.


     Dated: October 26, 2017




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:
SWINDLER, NATASHIA T.                               Case No. 17-02469-3G7
                                                    Hearing: 10-25-17 at 10:00 a.m.

                        Debtor(s)               /

                  ORDER ALLOWING ADMINISTRATIVE EXPENSES

       This case came on for consideration of the Application for Attorney’s Fee for Gordon P.
Jones as Attorney for the Estate (docket 17). After notice and hearing, it is ORDERED:

        1. The following expenses of administration which have not been paid are allowed, and
the trustee is directed to pay these expenses pro rata to the person(s) so indicated.

Application or Reason                                                                        Fees

Gordon P. Jones, Attorney for Trustee                                                    $757.68
Post Office Box 600459
Jacksonville, FL 32260-0459

       TOTAL COSTS OF ADMINISTRATION ORDERED PAID                                        $757.68

        2. The Trustee has reported to the Court that no remaining assets are susceptible of
liquidation and that any remaining assets are burdensome and should be abandoned. That
abandonment is hereby authorized.

       3. The Trustee shall file his Report of No Distribution.




Trustee Gordon P. Jones is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
